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                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF SOUTH CAROLINA

In re:

Lisa Ann DeGennaro                                       Case No. 18-05568-dd
                                     Debtor.             Chapter 7


ORDER AUTHORIZING TRUSTEE TO EMPLOY REAL ESTATE BROKER AND LOCAL LISTING
                                AGENT

       Upon the annexed Application of Kevin Campbell, Trustee herein, for the authority to
employ BK Global Real Estate Services (“BKRES”) whose address is 1095 Broken Sound
Parkway, N.W., Suite 100, Boca Raton, FL 33487 and telephone number is 561- 206-0067 to
represent him as a Real Estate Broker; and RE/MAX at Barnegat Bay (“REMAX”) whose
address is 221 Lacey Rd, Forked River, NJ 08731 and whose telephone number is 609-709-
4758 to represent him as the Local Listing Agent, it is,

        ORDERED, ADJUDGED AND DECREED that the Trustee be, and hereby is, authorized to
employ for the purpose described in the Application. The rate or amount of compensation of
the Real Estate Broker is fixed at no more than Six (6%) percent of the selling price as real
estate commission on residential property to be paid upon closing of the transaction. BKRES
will pay REMAX from its 6% commission. The compensation of the Real Estate Broker and
Local Listing Agent is subject to review and adjustment as provided for in 11 U.S.C. §330(a).

         IT IS ORDERED.

 FILED BY THE COURT
     02/13/2019




                                                 David R. Duncan
                                                 Chief US Bankruptcy Judge
                                                 District of South Carolina


   Entered: 02/14/2019
